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                           UNITED STATES DISTRICT COURT

                                DISTRICT OF OREGON

                                 PORTLAND DIVISION

JOHN DOE #1; JUAN RAMON MORALES;               Case No.: 3:19-cv-01743-SB
JANE DOE #2; JANE DOE #3; IRIS
ANGELINA CASTRO; BLAKE DOE;
BRENDA VILLARRUEL; and LATINO
NETWORK,

                            Plaintiffs,
       v.                                      DECLARATION OF SARAH LUECK IN
                                               SUPPORT OF PLAINTIFFS’ MOTION
                                               FOR A PRELIMINARY INJUNCTION

DONALD TRUMP, in his official capacity as
President of the United States; U.S.
DEPARTMENT OF HOMELAND
SECURITY; KEVIN MCALEENAN, in his
official capacity as Acting Secretary of the
Department of Homeland Security; U.S.
DEPARTMENT OF HEALTH AND
HUMAN SERVICES; ALEX M. AZAR II, in
his official capacity as Secretary of the
Department of Health and Human Services;
U.S. DEPARTMENT OF STATE;
MICHAEL POMPEO, in his official capacity
as Secretary of State; and UNITED STATES
OF AMERICA,

                            Defendants.
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                           DECLARATION OF SARAH LUECK

I, Sarah Lueck, hereby submit this declaration pursuant to 28 U.S.C. § 1746 and declare as
follows:

   1. I am a Senior Policy Analyst at the Center on Budget and Policy Priorities (“CBPP”),
      headquartered in Washington, DC. CBPP is a non-partisan research and policy institute
      that purses federal and state policies designed both to reduce poverty and inequality and
      to restore fiscal responsibility in equitable and effective ways. We apply our deep
      expertise in budget and tax issues and in programs and policies that help low-income
      people, in order to help inform debates and achieve better policy outcomes.

   2. In particular, our work includes research and analysis of budgets, taxes, low-income
      programs, and social insurance programs to ensure that programs serving low- and
      moderate-income people are adequately funded, accessible, and effective in helping
      beneficiaries meet basic needs while moving toward self-sufficiency. The scope of our
      work on low-income programs includes low-income tax credits, food assistance, family
      income support, low-income housing, and health care policy.

   3. With respect to our work in health care policy, we strive to ensure that Medicare,
      Medicaid, the Children’s Health Insurance Program (“CHIP”), and the Affordable Care
      Act (“ACA”) provide coverage that meets the needs of low-income children and families,
      seniors, and people with disabilities. We also work to ensure that proposals that would
      affect these programs do not slash benefits for, or impose costs on, the nation’s most
      vulnerable people.

   4. We at CBPP are familiar with the Presidential Proclamation entitled “Presidential
      Proclamation on the Suspension of Entry of Immigrants Who Will Financially Burden the
      United States,” signed by President Trump on October 4, 2019 (the “Proclamation”).
      Because of our focus on helping people access and maintain comprehensive health
      coverage through programs including Medicare, Medicaid, CHIP, and the ACA, the
      Proclamation raised immediate concern.

   5. The Proclamation would require certain groups of intending immigrants to meet its new
      health coverage mandate or be denied entry into the United States. But only some types
      of coverage would count toward the mandate. Medicaid and subsidized coverage that
      individuals buy through ACA health insurance marketplaces would not. So-called short-
      term health plans would.

   6. The purported rationale for the new health insurance mandate is that it will protect
      America’s health care system and taxpayers from the burdens of uncompensated care.
      But the policy could easily increase uncompensated care, in two main ways.

   7. First, the new policy adds to the climate of fear and confusion that discourages families
      that include immigrants from enrolling in public coverage programs for which they’re
      eligible. While the proclamation only states that Medicaid and subsidized marketplace
      plans do not count toward the mandate, some families will likely believe that signing up


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        for these plans could prevent them or their family members from immigrating to the
        United States. Moreover, some people who wouldn’t be subject to the assessment may
        nonetheless fear signing up for coverage that won’t meet this new mandate. For example,
        a family may not sign their children up for Medicaid because they fear it could leave a
        parent unable to immigrate to the United States. There is strong evidence that other,
        similar policies have created a climate of fear that is discouraging eligible families from
        signing up for federal coverage programs. *

    8. Second, the new policy steers potential immigrants and their family members away from
       comprehensive coverage through Medicaid or subsidized marketplace plans and toward
       short-term plans with large coverage gaps.

    9. Short-term plans do not meet the federal standards and protections that apply to private,
       individual-market health plans, including ACA marketplace plans, yet separate federal
       rule changes that took effect in October 2018 lifted a prior three-month limit on the plans,
       allowing them to last up to 12 months or longer.

    10. Short-term plans do not have to cover the “essential health benefits” that ACA
        marketplace plans are required to include and therefore often leave out essential benefits
        such as maternity and mental health care, substance use disorder treatment, and
        prescription drugs. In a study of short-term plans sold on two major online broker sites,
        43 percent of plans didn’t cover mental health services, 62 percent didn’t cover substance
        use disorder treatment, and 71 percent didn’t cover outpatient prescription drugs. No
        plans included maternity care.† Enrollees who need benefits that their plans lack would
        face high costs.

    11. Short-term plans can charge high deductibles and cost-sharing for the benefits they do
        cover (i.e., a $5,000 deductible for a policy that lasts six months), exposing patients to
        high costs if they need care. And the plans may include dollar limits on how much they
        will pay out for a given service or in total for benefits over the life of the policy, or during
        the life of the enrollee. ACA plans, in contrast, limit people’s deductibles and other out-
        of-pocket costs, a critical protection when someone faces catastrophically high spending,
        and are prohibited from imposing dollar limits on essential health benefits. And Medicaid
        offers comprehensive coverage with no or low cost-sharing.

    12. Short-term plans can deny coverage or charge higher premiums to people with pre-
        existing conditions, and they typically do not cover any medical services related to a pre-
        existing condition. If a short-term plan enrollee receives medical care, the insurer may
        investigate their medical history for evidence that the care they already received is related

*
  Hamutal Bernstein et al., “With Public Charge Looming, One in Seven Adults in Immigrant Families Reported
Avoiding Public Benefit Programs in 2018,” Urban Institute, May 21, 2019. https://www.urban.org/urban-
wire/public-charge-rule-looming-one-seven-adults-immigrant-families-reported-avoiding-public-benefit-programs-
2018
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  Karen Pollitz et al., “Understanding Short-Term Limited Duration Health Insurance,” Kaiser Family Foundation,
April 23, 2018, https://www.kff.org/health-reform/issue-brief/understanding-short-term-limited-duration-health-
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        to a pre-existing condition, a practice known as “post-claims underwriting.” In one case,
        a Georgia woman who was diagnosed with breast cancer after she bought a short-term
        plan was then left with $400,000 in medical bills because the insurer said the disease pre-
        dated the coverage.‡

    13. A recent review of select short-term health plans available in Philadelphia concluded that
        even when people experience unanticipated illnesses, clearly unrelated to a pre-existing
        condition, the coverage available under short-term health plans was so sparse that
        enrollees would face large out-of-pocket charges. For example, one Philadelphia plan
        limited coverage of hospitalization to no more than $1,000 per day, far less than the U.S.
        average cost of more than $5,000 per day. Another Philadelphia plan limited benefits for
        an appendectomy to $2,500, when the average cost of that procedure is nearly $14,000.§

    14. Another study found that a sample person who enrolls in a short-term plan and then is
        diagnosed with breast cancer (after having no history of the disease) could expect to pay
        roughly $40,000 to $100,000 for treatment, in addition to premiums -- far more than
        under ACA marketplace plans, which include more robust benefits and limit each
        person’s yearly cost-sharing to no more than $7,900.**

    15. By discouraging families that include immigrants from enrolling in public coverage
        programs for which they’re eligible, the Proclamation is likely to raise uninsured rates
        among lawfully present immigrants and potentially their U.S. citizen family members.
        Our research finds a very strong relationship between uninsured rates and uncompensated
        care costs.††

    16. In addition, by prodding more people into short-term plans, the Proclamation will leave
        more people with gaps in their benefits and high medical bills. This also will increase
        uncompensated care, exacerbating the very problem the Proclamation purports to address.

I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct. Executed on November 7, 2019 at Washington, DC.




                                                             SARAH LUECK


‡
  Erik Larson and Zachary Tracer, “The Health Plans Trump Backs Have a Long History of Disputes,” Bloomberg,
October 16, 2017, https://www.bloomberg.com/news/articles/2017-10-16/trump-s-insurance-directive-renews-
preexisting-conditions-fight.
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  Jackson Williams, “Short-term health insurance coverage is almost worthless,” Philadelphia Inquirer, July 30,
2018, http://www2.philly.com/philly/health/health-cents/short-term-health-insurance-coverage-is-almost-worthless-
20180730.html.
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   Inadequate Coverage: An ACS CAN Examination of Short-Term Health Plans, American Cancer Society Cancer
Action Network, May 13, 2019.
https://www.fightcancer.org/sites/default/files/ACS%20CAN%20Short%20Term%20Paper%20FINAL.pdf
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   Matt Broaddus, “ACA Medicaid Expansion Drove Large Drop in Uncompensated Care,” CBPP, November 6,
2019. https://www.cbpp.org/blog/aca-medicaid-expansion-drove-large-drop-in-uncompensated-care


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